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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL                         :
PROTECTION BUREAU,                         :
                                           :
                     Plaintiff             :
                                           :
                                           :      3:17-CV-101
              v.                           :      (Judge Mariani)
                                           :
                                           :
NAVIENT CORPORATION, et al.,               :
                                           :
                     Defendants.           :



                            SPECIAL MASTER ORDER #3

       Now, this 29th day of January, 2019, IT IS HEREBY ORDERED THAT a telephonic

status conference shall be conducted on Tuesday, February 5, 2019 at 11:00 a.m.

Counsel for Plaintiff shall be responsible for making the arrangements for the conference

call and placing it to 570-207-5605. Thereafter, a telephonic conference call shall be held

every Tuesday and placed by Plaintiff to 570-207-5605, unless otherwise ordered.

       Counsel for the parties may suggest items to be discussed during each conference

call by filing a proposed agenda no later than 5:00 p.m. on the last business day before the

scheduled weekly call. The Special Master may also identify items to be addressed during

each conference call by giving notice to counsel no later than 5:00 p.m. on the last business

day before the scheduled weekly call.
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                                 s/ Thomas I. Vanaskie
                                 THOMAS I. VANASKIE
                                 SPECIAL MASTER
